Case 4:12-cr-40051-JPG         Document 35        Filed 09/28/12      Page 1 of 2      Page ID #59




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

               Plaintiff,

       vs.                                            Case No. 12-cr-40051-JPG

TINA L. TRIPPLETT and LOUIS A.
TRIPPLETT,

               Defendants.


                                MEMORANDUM AND ORDER

       This matter comes before the Court on defendant Louis Tripplett’s Motion to Sever (Doc.

33). The Government filed its response (Doc. 34) informing the Court it has no objection to the

motion to sever.

       Pursuant to Federal Rule of Criminal Procedure 8(b), defendants may be joined in the

same indictment if they have “participated in the same act or transaction, or in the same series of

acts or transactions, constituting an offense or offenses.” However, under Federal Rule of

Criminal Procedure 14(a), if joinder of defendants “appears to prejudice a defendant or the

government, the court may order separate trials of counts, sever the defendants’ trials, or provide

any other relief that justice requires.” Together, Rules 8 and 14 “are designed to promote

economy and efficiency and to avoid a multiplicity of trials, where these objectives can be

achieved without substantial prejudice to the right of the defendant to a fair trial.” United States

v. Madison, 689 F.2d 1300, 1305 (7th Cir. 1982).

       Louis Tripplett points out that he has been in custody for four months while his co-

defendant, Tina Tripplett, remains a fugitive. As the Government indicated in its response, there

is still no estimate at what time Tina Tripplett will be apprehended. Louis Tripplett would be
Case 4:12-cr-40051-JPG         Document 35         Filed 09/28/12      Page 2 of 2      Page ID #60




prejudiced if he were to remain detained and have to wait to go to trial indefinitely, until his co-

defendant is apprehended.    Further, discovery from the Government has revealed to defendant

that his conduct is easily distinguishable from Tina Tripplett’s charged conduct.

       For the above-mentioned reason, the Court finds that failure to sever the defendants in

this case would result in substantial prejudice to defendant Louis Tripplett. Accordingly, the

Court GRANTS Louis Tripplett’s motion to sever (Doc. 33).


IT IS SO ORDERED.

DATED: September 28, 2012

                                                                      s/ J. Phil Gilbert
                                                                      J. PHIL GILBERT
                                                                      DISTRICT JUDGE




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